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                              EXHIBIT E


               To Declaration of Micah West in Support of
                   Motion for Preliminary Injunction
                    & Motion for Class Certification
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                               IN THE UNITED STATES DISTRICT
                             COURT FOR THE DISTRICT OF KANSAS

LAWRENCE MARTINEZ, et al.,                  )
                                            )
               Plaintiffs,                  )
                                            )       Case No. 15-CV-9344-DDC-TJJ
                                            )
v.                                          )
                                            )
CITY OF DODGE CITY, and                     )
FORD COUNTY,                                )
                                            )
               Defendants.                  )

                                    ORDER AND JUDGMENT

        Pursuant to the Joint Motion for Entry of Final Declaratory and Injunctive Relief and

Joint Stipulation of Dismissal with Prejudice filed by Plaintiff Lawrence Martinez and Defendant

City of Dodge City, and for good cause shown, it is hereby ORDERED that:

        1.     Plaintiff Lawrence Martinez (“Plaintiff”) and Defendant City of Dodge City

(“Defendant”), as parties to the Agreement to Settle All Equitable Claims (Doc. 23-1), are

ordered to comply with its terms;

        2.     The Plaintiff and Defendant’s Joint Motion for Entry of Final Declaratory Relief

is granted. The Court issues the following declaratory judgment:

               The use of a secured bail as a condition for release of a person in

               custody after a non-warrant arrest for an offense that may be

               prosecuted by the City of Dodge City implicates the protections of

               the Equal Protection Clause when such condition is applied to the

               indigent person. No person, consistent with the Equal

               Protection Clause of the Fourteenth Amendment to the United

               States Constitution, may be held in custody after a non-warrant

               arrest to be prosecuted by the City of Dodge City because the
                                                1
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              person is too poor to post a monetary bond.

       3.     The Plaintiff and Defendant’s Joint Motion for Entry of Final Injunctive Relief is

granted. The Court enters the following injunction:

              The City of Dodge City, Kansas (hereinafter the “City”) will

              release all individuals arrested (for non-warrant arrests) in the City

              for violation of municipal ordinances of the City on Own

              Recognizance Bonds (“OR Bonds”) without further conditions of

              release as soon as practical after booking and will not require

              individuals arrested (for non-warrant arrests) to post any type of

              monetary bond. The only exceptions will be for (1) individuals

              who are under the influence of alcohol and/or drugs, with these

              individuals being held at the Ford County Jail up to a maximum of

              six (6) hours from the time of the offense in order to allow the

              person to become sober enough to no longer endanger himself or

              others and to be able to understand the obligations he or she has to

              the municipal court upon release on the OR Bond, (2) individuals

              who are charged with a domestic violence crime or any other crime

              that involves an offense against a person may have a condition of

              the release on the OR Bond that the individual will have no contact

              with the alleged victim in the offense, with this condition

              remaining in effect until termination or until waived or modified

              by the municipal court judge for the City, and (3) individuals




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               arrested for domestic assault, intentional assault or threatening

               conduct, or assault may be held in the Ford County Jail for up to

               48 hours to be brought before the municipal court for the potential

               imposition of conditions for release other than the posting of a

               money bond or for a determination that the release must be denied

               to prevent danger to a victim, the community, or any other person

               under applicable constitutional standards. If the municipal court

               does impose conditions of release for these individuals, individuals

               who violate conditions of release shall be subject to such actions as

               determined by the municipal court pursuant to applicable law.

       5.      The Plaintiff’s Motion for Class Certification (Doc. 4) and his request for class

certification are dismissed with prejudice;

       6.      The Plaintiff’s Motion for Temporary Restraining Order and Preliminary

Injunction (Doc. 3) is dismissed with prejudice; and

       7.      The Plaintiff’s remaining claims in the Complaint, including Plaintiff’s claims for

damages, costs, and attorney fees, are dismissed with prejudice with the Plaintiff to be

responsible to pay the costs and attorneys’ fees incurred by the Plaintiff and the Defendant to

be responsible to pay the costs and attorney fees incurred by the Defendant subject only to

the continuing jurisdiction of the Court to enforce the injunction as set forth above.

      Dated this 26th day of April, 2016, at Topeka, Kansas.

                                              s/ Daniel D. Crabtree
                                              Daniel D. Crabtree
                                              United States District Judge




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